                      Case 20-16594-LMI                    Doc 24          Filed 07/31/20             Page 1 of 1

B 2100A (Form 2100A) (12/15)

                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA

In re: EFRAIN OSES                                                                              Case No. 20-16594


                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

  Vervent, Inc. Successor in Interest to First Associates
                                                                                             Freedom Truck Finance, LLC
                  Loan Servicing, LLC



                  Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                     Court Claim # (if known): 3
should be sent:                                                                  Amount of Claim: $34,329.65
Vervent, Inc. Successor in Interest to First Associates Loan                     Date Claim Filed: 07/01/2020
Servicing, LLC
P.O Box 911007
San Diego, CA 92191-1007
                                                                                 Phone:
Phone: (888)784-6048                                                             Last Four Digits of Acct. #: 1001
E-mail:
Last Four Digits of Acct #: 1001

Name and Address where transferee payments
should be sent (if different from above):
Vervent, Inc. Successor in Interest to First Associates Loan
Servicing, LLC
P.O. Box 206536
Dallas, TX 75320-6536
Phone: (888)784-6048
E-mail:
Last Four Digits of Acct #: 1001

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Arvind Nath Rawal
    AIS Portfolio Services, LP as agent                                          Date 07/31/2020
         Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
